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IN THE UNITED sTATEs DIsTRlCT Cég§g%?¢\?b$\§mm oF FiexAs

EASTERN DIsTRICT oF TEXAs JUL 1 1 2012
sHERMAN DIvIsIoN
DAV\D J. N\ALAND, GLERK
UNITED sTATES oF AMERICA § B`\'Epuw/
V, § No: 41ch /55'
§ Judge f z ’hé ¢2
ANsoN CHI §
MI\EM.

THE UNITED STATES GRAND JURY CHARGES:
M§
Violation: 26 U.S.C.§§ 5841, 5845,
5861(d), and 5871
(Possession of a firearm not registered in
the National Firearms Registration and
Transfer Record)
On or about June 18, 2012, in the Eastem District of Texas, Anson Chi, defendant,
did knowingly possess a firearm, to Wit: a destructive device manufactured through the
use of chemicals and a combination of parts intended for use in converting a readily
assembled explosive, Which Was not registered to him in the National Firearms

Registration and Transfer Record.

In violation of26 U.S.C. §§ 5841, 5845, 586l(d), and 5871.

Indictment/Notice of Penalty - Page 1

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A TRUE ILL,

l§`GREMAN OF THE GRAND JURY

JOHN M. BALES

UNITED STATES ATTORNEY

M. AndreW over

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Texas State Bar No. 19349300

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Indictment/Notice of Penalty - Page 2

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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TEXAS

SI-[ERMAN DIVISION
UNITED STATES OF AMERICA §
§
V. § NO: 4:12CR
§ Judge
ANSON CHI §
Count One
Violation: 26 U.S.C. § 586l(d)
Penalty: A term of imprisonment of not more than ten years, a fine not

to exceed $250,000, or both, and a term of supervised release
not to exceed three years.

Special Assessment: $100.00

Indictment/Notice of Penalty - Page 3

